                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                            Case No.: 1:22-cv-00342-LCB-JLW

MATTHEW FREETAGE,              )
                               )
              Plaintiff,       )
                               )
      v.                       )
                               )                   CONSENT PROTECTIVE ORDER
DUKE UNIVERSITY HEALTH SYSTEM, )
INC.,                          )
                               )
              Defendant.       )
                               )

       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, upon joint motion

by the parties, with the consent of the parties, and it appearing that the discovery process

in this action may involve the production of information that a party may contend is

confidential and/or proprietary, and it further appearing that good cause exists for the

entry of an Order limiting the disclosure of such information;

       IT IS THEREFORE ORDERED that:

       1.        “Confidential Information” as used herein means personnel information, all

proprietary, business, financial or other commercially sensitive information, whether

documentary or otherwise, designated as “confidential” and delivered, produced or

disclosed by any party in this action or by a third party, voluntarily or in response to an

interrogatory, a request for production of documents, a deposition question, subpoena or

otherwise.       However, the protections conferred by this Order do not cover any

information that is in the public domain at the time of disclosure to a receiving party or



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becomes part of the public domain after its disclosure to a receiving party as a result of

publication not involving a violation of this Order, including becoming part of the public

record through trial or otherwise.      The designation of documents or information as

“Confidential Information” shall not be conclusive for purposes of any substantive issues

in this case.

       2.        All documents produced or information provided or disclosed by any party

in discovery in this action or by a third party as identified in paragraph 1 shall be treated

as confidential and the use or disclosure of such documents or information shall be

governed by the terms of this Order, provided that the party or third party producing or

otherwise disclosing such documents or information designates such documents or

information as “confidential” at the time of production or disclosure or as otherwise

provided herein. However, any party receiving documents designated as confidential

shall retain the right to challenge the confidentially of said documents.

       3.        Confidential Information, including copies or summaries thereof, shall be

used only for the prosecution or defense of this action (including, but not limited to, any

mediation, arbitration, or other settlement process, as well as appeals of this action) and

shall not be used or employed for any other purpose whatsoever.                 Confidential

Information shall not be disclosed or made available to anyone except:

                 a.    the Court;

                 b.    the parties to this action and officers, directors or employees of the

       parties who are actively participating in the prosecution or defense of this action;

                 c.    counsel for the parties to this action and employees or independent

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       contractors of said counsel;

                 d.    experts or consultants specifically retained by the parties or their

       attorneys to assist them in the preparation of this case or to serve as expert

       witnesses at the trial of this action;

                 e.    third-party witnesses or potential witnesses whom counsel

       reasonably deem necessary for the preparation and trial of this action;

                 f.    court reporters engaged to record depositions, hearings or trials in

       this action; and

                 g.    mediators assigned to this case or selected by agreement of the

       parties.

       4.        Disclosure of Confidential Information pursuant to this Order shall be

handled as follows:

                 a.    Any person described in subparagraphs 3(a), (b), (c), (f) and (g) of

       this Order is bound by the provisions of this Order without the necessity of

       executing a confidentiality agreement;

                 b.    Before Confidential Information is disclosed to any person set forth

       in subparagraphs 3(d) and (e) of this Order, the party disclosing the information

       shall inform the person to whom the disclosure is to be made that Confidential

       Information shall be used for the purposes of the prosecution or defense of this

       action only, and shall obtain from the person to whom the disclosure is to be made

       a signed confidentiality agreement in the form attached hereto as Exhibit A; and

                 c.    As long as Confidential Information is handled in accordance with

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       this Order, this Order shall not be construed as prohibiting or restricting the use of

       Confidential Information during depositions, any hearing, the trial of this matter,

       or any appellate proceeding. Similarly, no party shall be deemed to have waived

       any objections as to the admissibility of any Confidential Information into

       evidence in connection with any proceeding in this action.

       5.        A party seeking to file Confidential Information with the Court in

prosecution or defense of this action must seek the Court’s permission to make a sealed

filing in accordance with Local Rule LCvR 5.5.

       6.        If a party or witness desires to designate any portion of a deposition as

Confidential Information, the designating party or witness shall have thirty (30) days

after receipt of the transcript to designate portions of the transcript or exhibits thereto as

Confidential Information and inform counsel of record in writing of such designation.

       7.        Nothing in this Order shall prevent the disclosure of Confidential

Information beyond the terms of this Order if the party or third party that produced the

information consents in advance in writing.

       8.        This Order shall not limit or in any way restrict the right of any person or

entity to use, disseminate, dispose of, or otherwise benefit from documents or

information obtained (i) other than through discovery in this action, or (ii) from any

person or entity with authority to provide such documents or information independent of

any confidentiality requirement imposed by this Order.

       9.        If any party hereto disagrees with the designation of any documents or

information as confidential, counsel shall attempt to resolve the disagreement on an

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informal basis. If it is necessary to present the dispute to the Court for resolution, the

material in question shall continue to be treated as confidential under the terms of this

Order unless and until the Court issues a final ruling that the material is not of a

confidential nature.

       10.       If a producing party realizes that it has inadvertently produced a document

or information that it considers to be protected from disclosure to a party in this litigation

by the attorney-client privilege, attorney work product doctrine, the common interest or

joint defense privilege, or such other privilege or immunity from discovery, then the

producing person may contact the receiving party and notify it in writing of the mistake.

Once the receiving party has been notified of the mistake, the receiving party shall

promptly use all means reasonably available to retrieve such document or information

and all copies and return them to the producing person. The inadvertent production of any

such privileged document shall not constitute a waiver of any otherwise applicable

privilege, and no person shall assert a waiver of any such otherwise applicable privilege

upon the basis of any inadvertent production in the course of discovery in this litigation,

except as may be necessary under the circumstances or if there is a dispute as to whether

such privilege applies.

       11.       This Order is without prejudice to the right of any party or witness to seek

modification or amendment of the Order by motion to the Court, or to seek and obtain

additional protection with respect to Confidential Information as such party may consider

appropriate.

       12.       This Order shall remain in effect for the period of this litigation and

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subsequent to its termination so as to protect the confidentiality of the Confidential

Information.

       13.       Ultimate disposition of materials and information protected by this Order is

subject to a final order of the Court upon completion of litigation. However, in the

absence of a final order of the Court addressing the disposition of Confidential

Information, the parties agree that counsel for each party shall, not later than forty-five

(45) days after the termination of this litigation, collect from any experts, consultants or

third party witnesses to whom any documents containing Confidential Information were

disclosed pursuant to the terms of this Order, any and all documents containing

Confidential Information, including without limitation, any copies or excerpts of such

documents. Counsel of record for each party shall be permitted to retain in their files a

copy of all documents containing information subject to this Order obtained during the

course of this litigation, pursuant to the North Carolina Rules of Professional Conduct;

provided, however, the prohibitions against the use or disclosure of Confidential

Information as set forth above shall continue to apply to said counsel.

       SO ORDERED.




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CONSENTED TO:



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                                       EXHIBIT A

                          CONFIDENTIALITY AGREEMENT

        I have read and am familiar with the terms of the Protective Order governing the
disclosure of confidential information in the case of Matthew Freetage v. Duke
University Health System, Inc. and I agree to abide by all the terms of said Order and
not to reveal or otherwise communicate any of the information disclosed to me pursuant
thereto to anyone except in accordance with the terms of said Order. I agree not to make
use of any information or material obtained pursuant to that Order other than for purposes
of this litigation.

       I also agree to return to counsel of record not later than thirty (30) days after the
termination of this litigation any and all documents in my possession containing
information which is the subject of said Order (whether such information is in the form of
notes, memoranda, reports or other written communications or documents prepared by
any person at any time containing information covered by the terms of said Order).



                                          Name:

                                          Date:




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